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Other Orders/Judgments
2:01-mc-00021-KSH CITYSCAPE CORP. v. WALSH SECURITIES

USS. District Court
District of New Jersey [LIVE]

Notice of Electronic Filing

The following transaction was entered on 7/25/2007 at 9:33 AM EDT and filed on 7/23/2007

Case Name: CITYSCAPE CORP. v. WALSH SECURITIES
Case Number: 2:01-mc-21
Filer:

Document Number: 64

Docket Text:

-CONSENT ORDER authorizing the release of the Pluries Writ of Execution that was levied on Robert
Magnanini, Esq. and/or Boies, Schiller & Flexner, LLP and Robert C. Walsh. Signed by Judge
Katharine $. Hayden on 7/23/07. (jgb)

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